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IN THE UNITED STATES DISTRICT COURT vhf/fy `

FOR THE WESTERN DISTRICT OF TENNESSEE?/.
EASTERN DIVISION

UNITED STATES OF AMERICA,

    

Plaintift`,
VS. No. 04- l 0099-T

GURDIEL S[NGH, and
ARUN KUMAR,

Defendants.
ORDER CONTINUING TRIAL AND EXCLUDTNG DELAY

The United States of America, by and through counsel, has moved for a
continuance of the trial on June 15, 2005, because of the unavailability of an essential
Witness. For good cause shown, that motion is hereby granted. Therefore, the trial of this
action is hereby continued and has been reset for Septernber 12, 2005, at 9:30 a.m.

The court finds that interest of the government in a continuance because of the
unavailability of a material Witness outweighs the best interests of the public and the
defendant in a speedy trial; therefore, the ends of justice will be served by delaying this trial

in order to have the material Witness available Accordin l the trial is continued from

 

June 15. 2005. to Sentember 12. 2005_ at 9:30 A.M. The resulting period of delay, from

June 15, 2005, to Septernber 12, 2005, is excluded pursuant to 18 U.S.C. § 3161(h).

Q'VWA,M

JA D. TODD
UN ED ST ES DISTRICT JUDGE

/ ‘/ ames "
DATE 0

IT IS SO ORDERED.

Thls document entered on the docket sheet ln comp"ance

with F|ule 55 andlor 32(b) FRCrP on _ f J{?` ’ f§ 652 @

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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June 16, 2005 to the parties listed.

 

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jacl<son, TN 38301

Mark L. Agee
AGEE LAW FIRM
ll l W. Eaton St.
Trenton, TN 38382

Timothy .l. Crocker

LAW OFFICE OF TIMOTHY CROCKER
P.O. Box 505

l\/lilan7 TN 38358

Honorable J ames Todd
US DISTRICT COURT

